CaSe ~8:19-bk-02347-RCT DOC 11

 
 
      
   

ill in this information to identify your case:

 

Debio, 1 Maria E Silverio
Firsl Name Middle Name Last Name

oebior 2 Jose R Travieso

(Spouse, if Hling) Fiisi Name Middie Name Lasr Name

 

United Slates Bankruptcy Court for the: Middle Disfricf Of F|Orida
Case number 8.19"bk"02347'RCT

(lf known)

El check ifthis is an
, amended filing

Official Form 1068um
Summary of Your Assets and Liabilities and Certain Statistical lnformation 12/15
Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct

infon'nation. Fill out all of your schedules first; then complete the information on this form. lf you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 

summarize Your Assets n § j /[/7§[ 79_/

_ ur,éi'sé,¢§§§sl
Ya ejofwhatyo~u wn

   

 

 

 

1. Schedule A/B: Property (Ofticial Form 106AlB)
. $ 163,000.00
1a. Copy line 55, Total real estate, from Schedule A/B .......................................................................................................... ___

1b. Copy line 62, Total personal propertyl from Schedule A/B ............................................................................................... $ ` 6,000.00

 

1a. Copy line 63, Total of all property on Schedule A/B ......................

m Summarize Your Liabilities

$ 169,000.00

 

 

 

 

2. Schedule D.' Creditors Who Have Claims Secured by Property (Ofticial Form 1060)
2a. Copy the total you listed in Column A, Amount ofc/aim, at the bottom of the last page of Part 1 of Schedule D ............

 

3. Schedule E/F.' Creditors Who Have Unsecured Claims (Ofticia| Form 106E/F) 0 00
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................ $ ___'

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ....................................... + $ 257,000_00

 

 

 

 

 

Your total liabilities $ 257'000'00
m Summarize Your lncome and Expenses
4. Schedule /: Your lncome (Official Form 106|) 4 2 0 0 00
Copy your combined `monthly income from line 12 of Schedule / .......................................................................................... $ __-+
5. Schedule J: Your Expenses (Oflicial Form 106J) _
Copy your monthly expenses from line 22c of Schedule J .................................................................................................... $ __M

 

 

Ofticial Form 1063um Summary of Your Assets and Liabi|ities and Certain Statistical information page 1 of 2

 

Case 8:19-bl<-02347-RCT Doc 11 Filed 04/01/19 Page 2 of 42

Deb,m iviaria E silverio ease nu,m,e,(,.,kmn,23;1sa-ii>i<-02347-RCT

 

 

Flrst Name Middle Name Last Name

Answer These Quostions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

m Yes

m No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

 

7. What kind of debt do you have?

m Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101 (8). Fill outlines 8~99 for statistical purposes. 28 U.S.C. § 159.

this form to the court with your other schedules.

m Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
Form 122A-1 Line 11; OR, Form 122B Line11; OR, Form 1220-1 Line 14.

 

$s;M

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

9a. Domestic support obligations (Copy line 6a.) $ 0-00
9b. Taxes and certain other debts you owe the government (Copy line 6b.)- $___..___o-OO
90. Claims for death or personal injury while you were intoxicated (Copy line Sc.) $ 0~00
9d. Student loans. (Copy line 6f.) $__M
9e. Obligations arising out_ of a separation agreement or divorce that you did not report as $ O_OO

priority claims. (Copy line 69.) ____
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + $ 0.00
99. Torai. Add lines 9a through 9f. $ 0.00

 

 

 

 

 

Officia| Form 1068um Summary of Your Assets and Liabilities and Certain Statistical information

page 2 of 2

 

 

 

Case 8219-bk-02347-RCT DOC 11 Filed 04/01/19

ill in this information to identify your case and this filing:

 

 

 

Debtor1 Maria E Silverio
First Name M|ddle Name Last Name

Debtor 2 Jose R Travieso

(Spouse, if filing) Flrst Name Middle Name Last Name

United States Bankruptcy Court for the: Midd|_e District Of F|Orida

811 9-bk-02347-RCT

Case number

 

 

1. Do you own or have any legal or equitable interest in any residence, building, |and, or similar property?

Official Form 106A/B

 

Schedule A/B: Property

Page 3 of 42

El check if this is an
amended filing

12l15

 

ln each category, separately list and describe items. List an asset only once. lf an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. lf two married people are filing together, both are equally
responsible for supplying correct information. |f more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

art 1:

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an |nterest ln -

 

|;l No. Go to Part 2.
m Yes. Where is the property?

1_1_ 11312 Laurel Crest Lane

 

Street address, if available, or other description

 

 

 

Tampa Fl 33624
city state ziP code
Hillsborough

County

lf you own or have more than one, list here:

1.2.

 

Street address, if available, or other description

 

 

City State ZlP Code

 

County

What is the property? Check all that apply.
w Single-family home

n Dup|ex or multi-unit building

n Condominium or cooperative

n Manufactured or mobile home

Cl Land

Cl investment property

cl Timeshare

n Other

 

Who has an interest' in the property? Check one. fee Simp|e

n Debtor1 only

L_.] Debtor 2 only

w Debtor 1 and Debtor 2 only

l;l At least one of the debtors and another

Other information you wish to add about this item, such as local

property identification number:

 

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
C d' ors Who Have Claims Secured by Pmperly

  

 

 

Current value of the Current value of th
entire property? portion you own?

$ 163,000.00 $ 163,000.00

 

Describe the nature of your ownership
interest (such as fee simple, tenancy by
'the entireties, or a life estate), if known.

 

 

cl Check if this is community property
(see instructions)

 

What is the property? Check all that apply
m Single-family home

Cl Dup|ex or multi- unit building

l:l Condominium or cooperative

n Manufactured or mobile home

m Land

n investment property

n Timeshare

a Other

 

Who has an interest in the property? Check one.

n Debtor 1 only

n Debtor 2 only

a Debtor 1 and Debtor2 only

m At least one of the debtors and another

Other information you wish to add about this item, such as local

property identification number:

 

    

Do not deduct secured claims or exemptions Put
, the amount of any secured claims on Schedule D: f
_ Cieditors Who Have Claims Secured by Property. `

§
§
i.

 

Current value of the Current value of the
entire property? portion you own?

$ $

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate)l if known.

 

a Check if this is community property
(see instructions)

 

 

 

Official Form 106A/B

Schedule AlB: Property

page 1

Case 8:19-bl<-O2347-RCT Doc 11 Filed 04/01/19 Page 4 of 42

Debtor1 iviaria E silve`rio Case numbe,(,.,knm) 8:19-bk-02347-RCT

Hrst Name Middie Name Last Name

 

 

 

. -.`.?@ 1 :i::.i 7 ;-l> ii “- ` :§=1 ’ f.§
What '5 the Prope'ty? Check all that aF’P'il~ ,';'Do riot deduct sec ed claims or exemptions Put ' §
- _ - the amount of any secured claims on Schedule D.' ‘
- cl Smg|e fam||y h_omé _ _ ;;Creditors Whp Have.'C/ai:n_is Sécured by;Property. '
Street address, if availabie, or other description n Dup|ex or multi-unit building ’ ' i ' ~ ' »

m Condominium or cooperative

1.3.

 

 

 

Current value of the Current value of the

 

 

 

 

. entire ro e ? ortion ou own?
Cl Manufactured or mobile home p p ny p y
m Land $ $
n investment property
City State Z|P Code m Timeshare Describe the nature of your ownership
interest (such as fee simple, tenancy by
n Other the entireties, 'or a life estate), if known.

 

Who has an interest in the property? Check one.

n Debtor1 only
m Debtor 2 only

Cl Debtor1 and Debtor 2 Oniy n Check if this is community property
(see instructions)

 

County

m At least one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

 

2. Add the dollar value of the portion you own for all of your entries from Part1, including any entries for pages

$ 163,000.00
you have attached for Part 1. Write that number here. ...................................................................................... ") ____

 

 

 

m Describe Your Vehic|es

Do you own, |ease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives. if you lease a vehicle. also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

     

 

 

 

 

 

 

  

 

 

 

m No
w Yes
3_1_ Make: DOdge Who has an interest in the property? Check one. . D mgt dedud secu}ed_daims or'exe"{p`f,-o,§g; put
h amount of any secured claims ’o`n‘Sche_du/e D:
Model: Joumee m Debtor 1 only reditors Who Have Claims Secured by Rroperty.
Y l 2009 n Debtor 2 only ' ' ` ` ' ` ` ' ' * `
ear' W_ cl Debtor 1 and Debtor 2 only §:tri::ntr‘;a|:ret;?f the C::tri:':`t v:|ue °f,:he
. . _ . u own
Approxlmate m'leage~ __ n At least one of the debtors and another p p p y
Other information:
. . _ , $ 1,000.00 $ 1,000.00
l;l Check if this is community property (see
instructions)
if you own or have more than one, describe here:
3_2_ Make: Chevy Who has an interest in the property? Check one. ` =D§n;,‘t dedu¢t’seg rea'¢|§i}=,»,g¢r exemé{j;,ns`_ put
- _the amount of any secured claims on Schedule D: 1
Model: P‘Ck up n Debtor1 °"ly §,"Creditors Who Hajv__e Clair_ijis` Secured‘by}§’roperty. ’
Year. 2006 il Debtor 2 oniy " ' ' ' ' ‘ ~` ` ~
` W n Debtor 1 and Debtor 2 only ;::tri::n‘:r\;a::ret;; the :::tri:r;:;::lu:vgrf\;he
Appr°x'mate mneage: ____ n At least one of the debtors and another ` `
0 h ' ation:
‘ e' '"f°"" _ _ _ _ $ 1,000.00 $ 1,000.00
a Check if this is community property (see

instructions)

 

 

 

 

 

 

Official Form 106A/B Schedule AlB: Property page 2

Case 8:19-bl<-O2347-RCT Doc 11 Filed 04/01/19 Page 5 of 42

 

 

 

 

 

 

Debtor1 Maria E Si|VeriO Case number (iri<nowrii 8:19'bk'02347"RCT
First Name Middie Name
3 3 Make: Who has an interest in the property? Check one. §,VDQ`nqt'ded,_`,c¢ secured c|é;m§§rex¢m'r-,ti'g,.~,.s'-»Put '_;
' ` n D bt 1 l zt_vithe_ar_nountof any secured claims on Schedule D: §
Model: 8 or on y _ Creditols Who Have Claims Secured by Property.
UDebwrzon|y ' ~ .. :, - _` .,, .~'.
Year:

Approximate mileage:

Other information:

 

 

 

 

3_4_ Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft fishing vessels, snowmobiles, motorcycle accessories

mNo

El Yes

4,1, Make:
Model:
Year:

Other information:

 

 

 

 

if you own or have more than one, list here:

4_2_ Make:
Model:
Year:

Other information:

 

 

 

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here ................

Current value of the Current value of the

n Debtor1 and Debtor 2 only entire property? portion you own?

n At least one of the debtors and another

cl Check if this is community property (see $ $
instructions)

 

Who has an interest in the property? Check one. -D(`, "n`€,{ deduct Se¢q'redié;iaiins ar exemptiohs. Fut"=_

m D bt 1 l --the amount of any.secured'claims on Schedule D: `
e or on y Cleditors l/Vho Have Claims Secured by Property.

cl Debtor20nly '\ ' » ~

n Debtor1 and Debtor 2 only

a At least one of the debtors and another

 

 

Current value of the Current value of the
entire property? portion you own?

[;l Check if this is community property (see $ $
instructions)

 
 

Who has an interest in the property? Check one. §,;.Do,no¢¢ deductsecured`cl@ims`orexemp¢;¢ns_ put -
§ _. the amount`of any secured claims on Schedule D: f

m Debtor 1 only § Creditors W_ho Have 'ms Secured byP perty.

n Debtor 2 only ' _ _» ~- \ . -r ' _- ' i : .. ,. _

n Debtor 1 and Debtor 2 only

m At least one of the debtors and another

 

 

 

 

Current value of the Current value of the
entire property? portion you own?

m Check if this is community property (see $ $
instructions)

 

 

   

Who has an interest in the property? Check one.
n Debtor1 only

a Debtor 2 only

|;l Debtor 1 and Debtor 2 only

n At least one of the debtors and another

Do not deduct secured claims or exemptions Rut
th_e,amount of any secured claims on Schedule D.' _
j » Creditors Who Have,Ciairi'is Secured by Propeity_ ~i

i

 

Current value of the Current value of the
entire property? portion you own?

n Check if this is community property (see $ $
instructions)

 

 

$ 2,000.00

 

 

 

 

 

Official Form 106A/B

Schedule AIB: Property page 3

Case 8:19-bl<-O2347-RCT Doc 11 Filed 04/01/19 Page 6 of 42

Maria E Silverio

Debtor 1

Case number (iri<nawni 8:‘19'bk'02347'RC-r

 

First Name Middle Name Last Name

 

m Describe Your Personal and Household items

Vi":if`>o)iyou own or have"any:legal oi;'equltable“`interest in`ariy:o`f the foll'wln`gflt:erns'?' a` " l w

 

       

       

6. Household goods and furnishings
Examples: Major appliances, fumiture, linens, china, kitchenware

n No
m Yes. Describe .........

 

furniture

 

 

 

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, camerasl media players, games

El No
m Yes. Describe ..........

 

tv, computer,printer

 

 

 

8. Co|lectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, picturesl or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
m No

n Yes. Describe ..........

 

 

 

 

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

m No
cl Yes. Describe ..........

 

 

 

 

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

m No
n Yes. Describe ..........

 

 

 

 

11.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

n No
m Yes. Describe ..........

 

work clothes

 

 

 

 

12. Jewelry
Examples: Everydayjewelry, costume jewelry, engagement rings, wedding rings, heirioom jewelry, watches, gems,
goid, silver
m No

L:l Yes. Describe ..........

 

 

 

13. Non-farm animals
Examples: Dogs, cats, birds, horses

m No
cl Yes. Describe ..........

 

 

 

 

14,Any other personal and household items you did not already list, including any health aids you did not list

mNo

|;l Yes. Give specific
information. .............

 

 

 

11r;`C'u"r-i"eiit-value qf_-the-=j.;" ’
portion you own`?

Do,n`o`t deduct secured claims

»:___°ré¥émpf_i°r\$~. ~

 

1,000.00

500.00

500.00

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here ...................................................................... -)

 

 

 

$ 2,000.00

 

 

Official Form 106A/B Schedule AlB: Property

page 4

 

Case 8:19-bl<-O2347-RCT Doc 11 Filed 04/01/19 Page 7 of 42

Debtor1 t Maria E Si|verio ease number(,.,km,wm 8:19-bi<-02347-RCT

First Name Middie Name Last Name

Describe Your Financial Asset:s

 

 

 

 

§ lsd youown o ave any-z legal or equitable interest in any_`,_o__f the-follow g.?~

           

 

 

 

 

 

 

 

 

 

 

16, (l;::|;iip/es.' Money you have in your wallet, in your home, in a safe deposit box, and on hand when you me your petition
|;\ No
m Yes ............................................................................................... ......... Cash: _______________________ $ 500.00
17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions if you have multiple accounts with the same institution, list each.
L_.l No
m Yes ..................... institution name:
17.1. Checking account: Cha$e $ 500.00
17.2. Checking account Cha$e $ 500-00
17.3. Savings account: $
17.4. Savings account: $
17.5. Certificates of deposit $
17.6. Other financial account $
17.7. Other financial account $
17.8. Other financial account $
17.9. Other financial account: $

1a. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

mNo

n Yes ................. institution or issuer name:

 

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

 

 

m No Name of entity: % of ownership:
n Yes. Give specific O% %
information about o
them 0 /8 %
0% %

 

 

 

 

Official Form 106A/B Schedule AlB: Property page 5

Case 8:19-bl<-O2347-RCT Doc 11 Filed 04/01/19 Page 8 of 42

Debtor 1 Maria E Si|Vel'iO Case number (,-,k,,c,w,,) 8119-bk-02347-RCT

Hrst Name Middie Name Last Name

 

 

 

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negof/able instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiab/e instruments are those you cannot transfer to someone by signing or delivering them.

mNo

El Yes. Give specihc issuer name:
information about
them ....................... $

 

 

 

21. Retirement or pension accounts
Examples: interests in lRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

m No
n Yes. List each
account separately. Type of account: institution name:
401(k) or similar pian: $
Pension plan: $
lRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account $
22.Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water). telecommunications

companies, or others

El No

m Yes .......................... institution name or individuai:
Electric: TECO $ 200.00
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone; Verizon $ 1 00.00
Water: TamDa leV $ 200.00
Rented fumiture: $
Other“. $

23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
m No
n Yes .......................... issuer name and description:
$
$

 

 

Official Form 106A/B Schedule AlB: Property page 6

 

Case 8:19-bl<-O2347-RCT Doc 11 Filed 04/01/19 Page 9 of 42

Debtor1 Maria E Silverio Case number (irki-iowni 8:19'bk'02347'RC-r

Flrst Name _ Middie Name Last Name

 

 

 

 

 

24. interests in an education lRA, in an account in a qualified ABLE programl or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

m No
cl Yes ....................................

institution name and description. Separately file the records of any interests.11 U.S.C. § 521 (c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

mNo

n Yes. Give specihc
information about them.... $

 

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: lnternef domain names, websites, proceeds from royalties and licensing agreements

mNo

m ¥es. Give specific
information about them.... $

 

 

 

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

 

 

 

 

 

 

 

m No
n Yes. Give specific
information about them.... $
.Mbn§y'°`jr`pr_o`p_erfir` `Wiéd,f¢ ii¢j$u?_ l _ {§“: _ciirrentvaiu`¢ ofthe_ v;

_ portion you own?`
' Do not deduct secured
. ims or,exe`mpt'

   

       

28. Tax refunds owed to you

mNo

 

n Yes. Give specihc information
about them, including whether
you already filed the returns state:
and the tax years. .......................

Federal:

Local:

 

 

 

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settiement, property settlement

mNo

 

 

 

 

 

m Yes. Give specihc information ..............
Alimony: $
Maintenance: $
Support: $
Divorce settlement $
Property settlement $

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benehts, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
m No
El Yes. Give specific information ...............
$

 

 

 

 

Official Form 106A/B Schedule AlB: Property page 7

 

Case 8:19-bl<-O2347-RCT Doc 11 Filed 04/01/19 Page 10 of 42

Debtor1 Maria E silverio ease numbe,(,.,kmn, 8:19-bl<-02347-RCT

First Name Middie Name Last Name

 

 

 

31. interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowners or renter’s insurance

mNo

\:i Yes. Name the insurance company Company name: Beneflciary; Surrender or refund value:
of each policy and list its value.

 

 

 

32. Any interest in property that is due you from someone who has died

lf you are the beneficiary of a living trust, expect proceeds from a life insurance poiicy, or are currently entitled to receive
property because someone has died.

mNo

Cl ¥es. Give specinc information ..............

 

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

mNo

n Yes. Describe each claim. ....................

 

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

mNo

Cl Yes. Describe each claim. ....................

 

 

 

 

35.Any financial assets you did not already list

mNo

n Yes. Give specific information ............

 

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here .. .................................... ') $ 2'000~00

 

 

 

m Describe Any Business-Related Property You Own or Have an interest ln. List any real estate in Part 1. §

 

37. Do you own or have any legal or equitable interest in any business-related property?
El No. co to Part 6.
El Yes. eo to line 38.

   

:Current value of the__ _ _
§portion you.own?'_

§Do'_'not deduct secured claims .
ietsz§mi?§en§; ' "

 

38.Accounts receivable or commissions you already earned

m No
n Yes. Describe .......

 

 

 

 

39. Office equipment, furnishings, and supplies
Examples: Business-reiated computers, software, modems, printersl copiers, fax machines. rugs, telephones, desks, chairs, electronic devices

m No
n Yes. Describe ....... ¥$

 

 

 

 

 

 

Official Form 106A/B Schedule AlB: Property page 8

Case 8:19-bl<-O2347-RCT Doc 11 Filed 04/01/19 Page 11 of 42

Debtor1 Maria E Si|Vei'iO Case number (irimawn) 8:19'bk'02347'RC-r

Flrst Name Middie Name Last Name

 

 

t
t 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

M No
El Yes. Describe ....... §

 

 

41. inventory

uNo §

 

cl Yes. Describe .......

 

 

42. interests in partnerships orjoint ventures

w No
Cl Yes. Describe .......

 

 

Name of entity: % of ownership:
% s
% s
% $

 

43. Customer lists, mailing lists, or other compilations
m No
l:l Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
m '.No
Cl Yes. Describe ........

 

 

 

 

44.Any business-related property you did not already list
la No

a Yes. Give specific
information .........

 

 

 

 

 

M$M€H€BM

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 0_00
for Part 5. Write that number here .................................................................................................................................................... 9

 

 

 

Describe Any Farm- and Commercial Fishing-Reiated Property You own or Have an interest ln.
if you own or have an interest in farmland, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
w No. Go to Part 7.
n Yes. Go to line 47.

   

Qu_rrent value ot the _ `
§p_ortion you own?.`- `-` " x
§Do riot deduct secured cl '_ms

     

47. Farm animals
Examples: Livestock, poultry, farm-raised fish

m No
n Yes .........................

 

 

 

 

 

 

Official Form 106A/B Schedule AlB: Property page 9

 

Case 8:19-bl<-O2347-RCT Doc 11 Filed 04/01/19 Page 12 of 42

Debtor 1 Maria E Silverio Case number (,,k,wwn, 8:19-bk-02347-RCT

 

 

First Name Middle Name Last Name

4B. Crops-either growing or harvested

mNo

El Yes. Give specinc
information._. ........... $

 

 

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
g No
n Yes ..........................

 

 

 

 

50. Farm and fishing supplies, chemicais, and feed

m No
a Yes ..........................

 

 

 

 

51.Any farm- and commercial fishing-related property you did not already list
m No

Cl Yes. Give specific .
information ............. $

 

 

 

 

52. Add the dollar value of ali of your entries from Part 6, including any entries for pages you have attached
for Part 6. Write that number here ............................................................... 9

 

0.00

 

 

Describe Ali Fropert:y You Own or Have an interest in That You Did Not List Above

53. Do you have other property of any kind you did not already |ist?
Examples: Season tickets, country club membership

ENO

Ei Yes. Give specific
information .............

 

 

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. 9 $

 

 

 

List the Totais of Each Part of this Form

 

56. Part 2: Total vehicles, line 5 $ 2'000'00
57. Part 3: Total personal and household items, line 15 $ 21000'00
58. Part 4: Total financial assets, line 36 $ 2’000'00
59. Part 5: Total business-related property, line 45 $ 0'00
60. Part 6: Total farm- and fishing-related property, line 52 $ 0'00

61. Part 7: Total other property not listed, line 54 + $ O-OO

 

62.Tota| personal property. Add lines 56 through 61. .................... $ 6'OOO'OO Copy personal property total 9 +$

 

 

 

55.Part1: Total real estate, line 2 ...... ............. .. . .......... . 9 $ 163'000'00

i..._..,.,..,....__.,.......,....,._-..,...,...,...,...,.,..,,,,.._,.v...,,..~,.......~.

6,000.00

 

 

63.Total of ali property on Schedule AlB. Add line 55 + line 62 .......................................................................................... $

 

169,000.00

 

 

 

Official Form 106A/B Schedule AlB: Property

page 10

 

Case 8:19-bl<-O2347-RCT Doc 11 Filed 04/01/19 Page 13 of 42

Fill in this information to identify your case:

Debtor1 Maria E Silverio

First Name Middle Name Last Name

Debtor 2 Jose R Travieso

 

 

(Spouse. if filing) Flrsl Name Middle Name Last Name
United States Bankruptcy Court for the: Middle DiStrin Of F|Orida

case number 8519'bk'02347'RCT ' E] Check if this is an
("k"°‘”") amended filing

 

 

Official Form 1060
Schedule C: The Property You Claim as Exempt inns

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B.' Property (Oflicial Form 106A/B) as your source, list the property that you claim as exempt. if more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you ciaim. One way of doing so is to state a
specific dollar amount as exempt. Alternative|y, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions_such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

identify the Property ¥ou Claim as Exempt

1. Which set of exemptions are you claiming? Check one on/y, even if your spouse is filing with you.

w You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
Cl You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 

  
  
  

    
  
 

er aeeerretienef§he preperiy-an iin:e?en v /`\;cii`rren£yeiiié-er_the

;S eduIe'A/B' that lists this prope -" g portion`you own'v

 
 
  

 
  
  

   
 

Anio'un'i ef"ihe , ,piienyeii'eia`inrf __‘ v __th'a`t/ailew.ejxempti_o.

     

    

_e`o/r on .Qn`e b¢_> foreéciié>.<e/iiplién?

 

sinqle family home $163,000.00 ` n $ 163,000.00 Fl- HOmeSféad Exempfion

 

 

 

 

 

 

 

Brief

description:

Line from - Cl 100% of fair market value, up to

Schedule A/B; 1 -1 any applicable statutory limit

Brief ` Fi A t E

description: auto $LOOO-OO _ n $ 1,000-00 U 0 X
- m 100% of fair market value, up to

Line from 3 j

Schedule A/B: any applicable statutory limit

Brief t 1 000 00 00 00 Fi Auto Ex

description: au 0 $ i - Cl $ 1,0 .

Line from n 100% affair market value, up to

 

Schedule A/B: _3_2_ any applicable statutory limit

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
n No
g Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

MNo

El Yes

 

 

 

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of_

Case 8:19-bk-02347-RCT DOC 11 Filed 04/01/19 Page 14 of 42

Debtor1 Maria E Si|verio Case number (,.,km,w,,) 8:19-bk-02347-RCT

Flrst Name Middle Name Last Name

Additional Page

 

 

     

 

      
 

      

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Brief descriptiorl;f‘of`-thé 'propertyl:a`nd:line mount of:the exemption yo`u claim n :` `Spe`cific laws:tha_t allow exemption

on~Schedu/e:A/B'that lis this ro erty , 13 ' ’ " ‘ ' . _`j J _v x ?; v 515 ... .~ ' :
' back dny¢n¢>l,o,¢ lo_r~¢a,.~rz'éenpr,~o;; , ~: '

§;§;npuon: checkan $ 500.00 n $ 500.00 F' Per P'°P exem

Line from 17 l;l 100% of fair market value, up to

Schedule A/B_- any applicable statutory limit

Brief . Fl Per r Exem

description £heakmg____ $ 500.00 El $ 500.00 P °P

Line from l;l 100% of fair market value, up to

Schedule A/B; -L any applicable statutory limit

Brief furniture 500 00 500 00 F|. Per prop exem

description: $ ' n $ '

Line from 6 m 100% of fair market value, up to

Schedule A/B; _ any applicable statutory limit

Brief clothes 500 00 500 00 Fl Per P'°P exem

description: 5 ' cl $ '

Line from 1 1 cl 100% 0f fair market value, up to

Schedule A/B_- any applicable statutory limit

Brief

description: $ n $

Line from El 100% of fair market value, up to

Schedule A/B; _ any applicable statutory limit

Brief

description: $ n $

Line from m 100% of fair market value, up to

Schedule A/B_~ ___ any applicable statutory limit

Brief

description: $ cl $

Line from n 100% of fair market valuel up to

Schedule A/B: any applicable statutory limit

Brief

description: $ n $

Line from El 100% of fair market valuel up to

Schedule A/B: _ any applicable statutory limit

Brief

description: $ cl $

Line from Cl 100% of fair market value, up to

Schedule A/B: _ any applicable statutory limit

Brief

description: $ m $

Line from El 100% of fair market value, up to

Schedule A/B_~ any applicable statutory limit

Brief

description: $ m $

Line from l:l 100% of fair market value, up to

Schedule A/B,- _* any applicable statutory limit

Brief

description: $ cl $

Line from m 100% of fair market value, up to

Schedule A/B: _ any applicable statutory limit

 

 

Official Form 106C Schedule C: The Property You Claim as Exempt page l_ of_

 

Case 8:19-bk-O2347-RCT DOC 11 Filed 04/01/19 Page 15 of 42

Fill in this information to identify your case:

Debtor1 Maria E Silverio

First Name Middle Name Last Name

Debtor 2 Jose R Travieso

 

 

(Spouse, it flllng) Hrst Name Middle Name Last Name

United States Bankruptcy Court for the: Middle DiStriCt Of F|Orida

8:19-bk-02347-RCT
?i?i§§o$:§“be' El check if this is an

 

 

 

amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12115

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct
information. |f more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

1. Do any creditors have claims secured by your property?
w No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this form.
El Yes. Fill in ali ofihe information beiow.

m List All Secured Claims

2. l;.ist atl secured clai ` lf a creditor has more than one secured claim list the creditor separately Amount f¢|a,"‘»
for each claim_;_ lf mo than o`ne creditor has a particu|a claim, list the other creditors in F_’art 2. D»°~ not deduct/ the ,

' _ value of collateral

 

   
   

 

‘canhih'o: ‘_ f odumnc ~:"
. _iValue 9f collateral l h v

   
   

 

 

 

jt Describe the property that secures the claim: $ $ $
Creditors Name

 

 

 

 

 

 

 

 

Number Street
As of the date you filel the claim is: Check all that app|y.
n Contingent
El unliquidated
City State Z|P Code n Disputed
Who owes the debt? Check one. Nature of lien. check ali that appiy.
a Debtor 1 OnlY n An agreement you made (such as mortgage or secured
_u Debtor 2 only car loan)
m Debtor 1 and Debior 2 only n Statutory lien (such as tax lien, mechanic’s lien)
a At least one of the debtors and another n Judgmem lien from a lawsuit

n Other (including a right to offset)
n Check if this claim relates to a

community debt

 

 

Date debt was incurred Last 4 digits of account number _ _ ___
~g'-z-| Describe the property that secures the claim: $ $ $

 

 

Creditors Name

 

 

 

 

 

 

Number Street
As of the date you filel the claim is: Check all that app|y.
n Contingent
El unliquidated
City State Z|P Code n Disputed
Who owes the debt? Check One. Nature of lien. Check all that app|y.
a Debtor 1 On\y n An agreement you made (such as mortgage or secured
m Debtor 2 only Ca\' loan)
E] Debtor1 and Debtor 2 only n Statutory lien (such as tax lien, mechanic’s lien)
m At least one of the debtors and another n Judgmem lien from a lawsuit
n Other (including a right to offset)

El Check if this claim relates to a
community debt

Date debt was incurred Last4 digits of account number

 

 

 

"`Add-the dollar value:.of your entttes:"ln Col`umn/A oh this pagel Write that number herein " }$

 

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of_

Case 8:19-bk-O2347-RCT DOC 11 Filed 04/01/19 Page 16 of 42

 

ill in this information to identify your casei

 

 

Debtor1 Maria E Si|verio
First Name Middle Name Last Name

Debtor 2 Jose R Travieso

(SpOUSe. if flllrig) First Name Middle Name Last Name

United States Bankruptcy Court for the: Middle DiStriCt Of FlOrlda

8:19-bk-02347-RCT x El check if this is en
(i:ii:§§`i:l"be' amended filing

 

 

Official Form 106E/F
Schedule ElF: Creditors Who Have Unsecured Claims 12115

Be as complete and accurate as possible. Use Part1 for creditors with PRlORlTY claims and Part 2 for creditors with NONPRlORlTY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. A|so list executory contracts on Schedule
A/B: Property(Official Form 106AlB) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. lf more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

 

List All of Your PRlORlTY Unsecured Claims

 

1. Do any creditors have priority unsecured claims against you?
U No. Go to Part 2.

. Cl Yes t ., .

»2.. l_i`st_ all of your priority unsecured claims. if a credit as more than one priority unsecured claim, list the creditor separately for each claim. For

’ each claim |isted, identify what type of claim it is lf a claim has both priority and nonpriority amounts, list that claim here and show both priority and

. nonprlorlty amounts As much as possiblel list the claims in alphabetical order according to the creditor’s name lf you have more than two priority
1 unsecured claims fell out the Contlnuation Page of Part 1 lf more than one creditor holds a particular claim. list the other creditors` in Part 3.

(For an explanation of each type o_f claim see the instructions for this form in the instruction booklet )

   

    

 

 

 

 

 

 

 

 

 

 

 

amount '
2.1
Last4 digits of account number _ _ __ __ $ $ $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you fi|e, the claim is: Check all that app|y.
city state ziP code cl C°mi"ge“t
_ n Un|iquidated
Who incurred the debt? Check one. .
m Dlsputed
n Debtor1 only
Cl Debtor2 only Type of PRlORlTY unsecured claim:
g Debtor1 and Debtor 2 only El Domestic support obligations
At least one of the debtors and another n Taxes and certain other debts you owe the government
m Check 'f th's c|a'm ls for a commumty debt n Claims for death or personal injury while you were
ls the claim subject to offset? 'nt°X'°ated
No t er. peci
l._.l 0 h s '
n Yes
2'2 t Last4 digits of account number __ __ _ _ $ $ 3

 

Priority Credltcr‘s Name
When was the debt incurred?

 

 

 

Number Street
As of the date you filel the claim is: Check all that apply.
n Contingent

City State ZlP Code cl Un|iquidated

Who incurred the debt? Check one. n Disputed

n Debtor1 only

l;l Debtor2 only

l;] Debtor1 and Debtor 2 only

n At least one of the debtors and another

Type of PRlORlTY unsecured claim:
n Domestic support obligations
Taxes and certain other debts you owe the government

El
n Check if this claim is for a community debt Claims for death or personal injury while you were
El

 

intoxicated
ls the claim subject to offset? Other. Specify
l;] No
m Yes

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of__

Case 8:19-bl<-O2347-RCT DOC 11 Filed 04/01/19 Page 17 of 42

memory Maria E silverio Case number(,.,m,m, 8:19-bk-02347-RCT

 

 

First Name M|ddle Name Last Name

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

Priority Creditor‘s Name

 

Number Street

 

 

City State ZlP Code

Who incurred the debt? Check one.

cl Debtor1 only

m Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?

n No
n Yes

 

Last4 digits of account number _ _ __ $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: C_heck a|| that app|y.
n Contingent
city state ziP code U Un|iquidated
n Disputed
Who incurred the debt? Check one.
Cl Debtor1 only Type of PRlORlTY unsecured claim:
n Debt°r 2 only Cl Domestic support obligations
n Debtor1 and Debtor 2 only .
n Taxes and certain other debts you owe the government
m At least one of the debtors and another . . . .
El Claims for death or personal injury while you were
Cl check if this claim is for a community debt '“‘°X'°a‘ed
a Other. Specify
ls the claim subject to offset?
Cl No
n Yes
` Last4 digits of account number _ _ _ __ $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
a Contingent
city state ziP code El Un|iquidated
n Disputed
Who incurred the debt? Check one. t
El Debtor1 only Type of PRlORlTY unsecured claim:
n Debtor 2 only n Domestic support obligations
n Debtor1 and Debtor2 only .
n Taxes and certain other debts you owe the government
n At least one of the debtors and another . . . .
m Claims for death or personal injury while you were
m Check if this claim is for a community debt 'm°X'°ated
n Other. Specify
ls the claim subject to offset?
m No
m Yes
Last4 digits of account number _ $

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
Cl unliquidated
m Disputed

Type of PRlORlTY unsecured claim:

m Domestic support obligations
n Taxes and certain other debts you owe the government

n Claims for death or personal injury while you were
intoxicated

m Other. Specify

 

 

 

 

 

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

page _ of _

Case 8:19-bl<-O2347-RCT DOC 11 Filed 04/01/19 Page 18 of 42

Maria E Silverlo

Debtor1

 

First Name Middle Name Last Name

List All of Your NCNPRIORlTY Unsecured Claims

Case number (r'rknown) 8:19'bk`02347'RC-r

 

 

3. Do any creditors have nonpriority unsecured claims against you?

Yes

n No. You have nothing to report in this part. Submit this form to the court with your other schedules

 

   

L1__| Deutsche Bank Trust Co. Americas c/o RAS,p|

 

 

 

 

, iv
ifh_ _Total claim

Last4 digits of account numberl _Q _8 _i

 

 

4 Llst all of your nonpriority unsecured claims` in t_he alphabetical order of the creditor who holds each claim. lf a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed; identify what type of claim it is. Do not list claims already

   

 

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

n Debtor1 only

q Debtor 2 only

n Debtor1 and Debtor2 only

[;l At least one of the debtors and another

El check if this claim is for a community debt

ls the claim subject to offset?
n No
n Yes

 

q Contingent
U unliquidated
q Disputed

Type of NONPRlORlTY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts
U other. specify credit card

Nonpriority Creditors Name 04/25/2017 $M
6409 Congress Ave Suite 100 When was the debt incurred?
Number Street
Boca Raton Fl 33487
city state zlP code As of the date you file, the claim is: Check ali that appiy.
d Contingent
Who incurred the debt? Check one. Uniiquidaied
m Debtor1 only Disputed
n Debtor 2 only
m Debtor1 and Debtor 2 only Type Of NONPRlORlTY Unsecured claim:
n At least one of the debtors and another n Student loans
n Check if this claim iS for a community debt n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
ls the claim subject to offset? Cl Debts to pension or profit-sharing plans, and other similar debts
El rio M other. specify real estate related
m Yes
442 l Northern Leasing Systems, lNc. Last 4 digits of account number _‘l _8 _6_ 4 $__M
N°nprion'ty creditors Name When was the debt incurred? 06/12/2701
525 Washington B|vd, 15 th floor
Number Street
Jei-Sey City NJ 073-l 0 As of the date you file, the claim is: Check all that apply.
City State ZlP Code v Contingent
Who incurred the debt? Check one. v Un|iquidated
m Debtor1 only v D'sputed
n Debtor 2 only
n Debtor1 and Debtor 2 only Type of NONPRlORlTY unsecured claim:
a At least one of the debtors and another n Student loans
_ _ _ _ _ n Obligations arising out of a separation agreement or divorce
n Check if this claim is for a community debt that you did not report as piioi.iiy claims
is the claim subject to offset? n Debts to pension or profit-sharing plans, and other similar debts
m No M Other. Specify lease
n Yes
4.3 -
_j Port FOIlO ReCOV€iy ASSOC. LLC Last4 digits of account number _O_ _§ _Q _2 2 400 00
Nonpriority creditors Name _ / $__;
When was the debt incurred? W_e
PO Box 12914
Number Street
§yorfolk S\i:: zizz;:u As of the date you file, the claim is: Check all that apply.

 

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

page _

of_

 

Case 8:19-bl<-O2347-RCT lDOC 11 Filed 04/01/19 Page 19 of 42

 

Case number (iflrrrown) 8:19'bk'02347`RCT

 

Debtor1 Maria E Silverio
First Name Middle Name Last Name
Part 2: Your NONPRlORlTY Unsecured Claims - Continuation Page

 

._fAfter.iisfiirtg any entries onitii' p_ag' ',,_nli;'rjn:l$,e`r them beginning 'wirh_d:§t, followed by:4.s;{ai§d so rottt_`r

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

cl Debtor1 only

m Debtor2 only

m Debtor1 and Debtor 2 only

l;l At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

n No
m Yes

 

Cl unliquidated
l:l Disputed

Type of NONPRlORlTY unsecured claim:

n Student loans

a Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plansl and other similar debts

n Other. Specify

 

Official Form 106ElF

Schedule ElF: Creditors Who Have Unsecured Claims

 

. ~ ' 5 8 3
First Source Advantage LLC Last4 digits of account number §_ ___ __ ____ $M
Nonpiioiity Creditol’S Name 1 1/23/201 8
When was the debt incurred?
205 Bryant Woods South
Number Street
As of the date ou file, the claim is: Check all that a l .
Amherst NY 14228 y P" y
City State ZlP Code m Contingent
q unliquidated
Who incurred the debt? Check one. m Disputed
a Debtor1 only
q Debtor2 only Type of NONPRlORlTY unsecured claim:
l;l Debtor1 and Debtor 2 only n Student ioans
n At least one °f the debtors and another n Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you d'd not report as pm_mty cl_a'ms _ .
n Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? Other_ Specify credit card
n No
n Yes
_l Last 4 digits of account number _ ___ __ _ $
Nonpiioiity Creditol“s Name
When was the debt incurred?
Number Street . . .
As of the date you file, the claim is: Check all that app|y.
City State ZlP Code n Contingent
El unliquidated
Who incurred the debt? Check one. n Disputed
cl Debtor1 only
El Debtor 2 only Type of NoNPRioRiTY unsecured claim:
g Debtor1 and Debtor 2 only n Student ioans
At least one of the debtors and another m Obligations arising out of a separation agreement or divorce that
El check if this claim is for a community debt y°“ d‘d “°l 'e‘_’°'l as p"°"ty °l§’“ms _ _
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? [:| Other_ Specify
n No
n Yes
i_l .. s
Last4 digits of account number _ _ _
Nonpiioiity Creditors Name
When was the debt incurred?
Number St t
lee As of the date you file, the claim is: Check all that app|y.
City State ZlP Code n Contingent

page _ of _

 

Case 8:19-bl<-O2347-RCT Doc 11 ' Filed 04/01/19 Page 20 of 42

Debtor1 Maria l E Si|verio

 

Frrst Name Middle Name Last Name

Case number tilknqwrr) 8:19'bk'02347'RC-l-

 

 

Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

    
  

Total claims
from Part 1',¢

 

'* 6a.

..’ 6b.

6e.

Domestic support obligations

Taxes and certain other debts you owe .the
government

. Claims for death or personal injury while you were

intoxicated

. Other. Add all other priority unsecured claims.

Write that amount here.

Tota|. Add lines 63 through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

. Debts to pension or profit-sharing plans, and other

similar debts

'. Other. Add all other nonpriority unsecured claims.

Write that amount here.

z 6j'. Tota|. Add lines 6f through 6i.

6a.
6b.
6c

6d.

6e.

6f.

69.

6h.

6i.

ej_

 

 

 

 

 

 

 

$ 0.00
$ 0.00
$ 0.00
+ $ 0.00
$ 0.00
$ 0.00
$ 0.00
+ $ 257,000.00
$ 257,000.00

 

 

 

 

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

page _ of _

 

Case 8:19-bl<-O2347-RCT Doc 11 Filed 04/01/19 Page 21 of 42

Fill in this information to identify your case:

Debtor Maria E Silverio

, Hrst Name Middle Name Last Name

Debtor z Jose R Travieso

 

(Spouse lf filing) Fitst Name Middle Name Last Name
United States Bankruptcy Court for the: Middle DiStriCt Of FlOrida

8:19-bk-02347-RCT '
%?r?§el`r:§"ber E] check if this is an

amended Hling

 

 

 

Official Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12/15

 

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired |eases?
q No. Check this box and tile this form with the court with your other schedules. You have nothing else to report on this form.
Cl Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Oft'icial Form 106AlB).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

 

"State what the contractor lease is_for'

 

 

  

 

Name

 

Number Street

 

City State Z|P Code

 

 

Name

 

Number Street ii

 

city state zlP code §;

 

Name §

 

Number Street

 

city state zlP code §§
2.4 i_<

 

 

Name

 

Number Street it

 

City State Z|P Code

l~;§_.

 

Name

 

Number Street j i

 

 

 

..Ci*y. .. ., .. …._.,,S*a e._.'ZlP_C‘?E“`-_v

   

 

Official Form 1066 Schedule G: Executory Contracts and Unexpired Leases page 1 of _

Case 8:19-bl<-O2347-RCT Doc 11 Filed 04/01/19 Page 22 of 42

Fill in this information to identify your case:

Debtor1 Maria E Silverio
First Name Middle Name Last Name

Debtor 2 Jose R Travieso
(SpOUSS, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Middle DiStl'iCt Of Florida

Case number 8:19'02347'RCT

(lf known)

 

 

E] check if this is an
amended tiling

 

Official Form 106H y
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married people
are filing together, both are equally responsible for supplying correct information. lf more space is neededl copy the Additional Page, fill it out,
and number the entries iri the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

1. Do you have any codebtors? (lf you are Hllng a joint case, do not list either spouse as a codebtor.)

m No
n Yes

2. Within the last 8 years, have you lived iri a community property state or territory? (Community property states and territories include
Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

mr No. Go to line 3.
Cl Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

DNo

n Yes. ln which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, fortner spouse, or legal equivalent

 

Number Street

 

City State ZlP Code

3. ln Co|umn 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 1060), Schedule E/F (Official Form 106E/F), or Schedule G (Officia| Form 1066). Use Schedule D,
Schedule E/F, or Schedule G to fill out Co|umn 2.

 

   

    

  

 

Check all_rsc§he:dule`s that,'apply

 

 

 

El schedule o, line ___

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
El Schedule E/F. line
Number Street n Schedule G, line
City State ZlP Code
3.2
El Schedule D, line
Name
n Schedule E/F, line
Number Street Cl Schedule G, line
City State ZlP Code
3.3
Cl Schedule o, line
Name
Cl Schedule E/F, line
Number Street El Schedule G, line
city state zlP code

 

 

 

 

Ofticial Form 106H Schedule H: Your Codebtors page 1 of _

Case 8:19-bl<-O2347-RCT Doc 11 Filed 04/01/19 Page 23 of 42

ill in this information to identify your case:

 

 

 

Debtor1 Maria E Silverio

Flrst Name , Middle Name Last Name
Debtor2 Jose R Travieso
(SpOuSe, `lf fllii`lg) First Name Middle Name Last Name

United States Bankruptcy Court forthe: Middle DlStrict Of Florida

 

case number 8119-bk-02347-RCT check if this is:

(lf known)

 

El An amended filing

Cl A supplement showing postpetition chapter 13
income as of the following date:

Official Form 106|
Schedule l: Your lncome

 

MM / DD/ YYYY

12l15

Be as complete and accurate as possible. lf two married people are filing together (Debtor1 and Debtor 2), both are equally responsible for
supplying correct information. lf you are married and not filing jointly,v and your spouse is living with you, include information about your spouse.
|f you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

' art 1: Describe Employment

 

 

1. Fill iri your employment l »'
information. §- .‘l?ebtoij,t’ q _

lf you have more than one job,

 

 

 

§ Debtor2 or:,n,o__r_l~f_iling spouse _ w §»

 

 

attach a separate page with
information about additional Empl°ymem status m Employed M Employed
employers. Cl Not employed El Not employed
include part-time, seasonal. or
self-em lo ed work.
p y occupation Real estate Agent laboror
Occupation may include student
or homemaker, if it applies.
Employer’s name Self Self
Employer’$ address 11312 Lau rel Crest Lane "

 

Number Street

Number Street

 

 

Tampa F l 33624

 

City State Z|P Code

How long employed there? 10+

m Give Details About Monthly lncome

spouse unless you are separated

below. lf you need more space, attach a separate sheet to this form.

 

;_ § l=`<§§i pe§b§'t“or" `1§"?‘;

 

2. List monthly gross wages, salary, and commissions (before all payroll

 

 

For Debtor2 or `§§§§§
;` non-filing spouse

City State ZlP Code

10+

Estimate monthly income as of the date you file this form. lf you have nothing to report for any line, write $0 in the space. lnclude your non-hling

lf you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

 

 

 

 

 

 

 

 

 

deductions). lf not paid monthly, calculate what the monthly wage would be. 2. $ 1 600_00 $ 1 100_00
3. Estimate and list monthly overtime pay. 3. + $ + $
4. Calcu|ate gross income. Add line 2 + line 3. 4. $ 1»600~00 $ 1.100~00
thcial Form 106| Schedule l: Your lncome page 1

 

Case 8:19-bl<-O2347-RCT Doc 11 Filed 04/01/19 Page 24 of 42

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Maria E Silverio Case number (,,k,,awn, 8:19-bk-02347-RCT
First Name Middle Name LastName
WWWW>W'WM"MM WM w ~-MW…MWW "W ~ h 14 "F.o::r bebtor 1 _ §For Debtor 2 or
’ - " g’~!3gn-filigg sgggse
Copy line 4 here ............................................................................................... -) 4. $ 1600-00 $ 1.100-00
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. $ ZO0.00 $ 100.00
5b. Mandatory contributions for retirement plans 5b. $ $
5c. Vo|untary contributions for retirement plans 50. $ $
5d. Required repayments of retirement fund loans 5d. $ $
5e. insurance 5e. $ $
5f. Domestic support obligations 5f. $ $
5g. Union dues 5g. $ $
5h. Other deductions. Specify: 5h. + $ + $
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h. 6. $ 200.00 $ 100.00
7. Calcu|ate total monthly take-home pay. Subtract line 6 from line 4. 7 $ 1,400-00 $ 1,000-00
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ 0 00 $ 0 00
monthly net income. 8a. _`_ __'
Bb. interest and dividends Bb_ $ 0.00 $ 0.00
80. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
lnclude alimony, spousal support, child support, maintenance, divorce $ 0 00 $ 0 00
settlement, and property settlement. 80. _'_ `
8d. Unemployment compensation 8d. $ 0-00 $ O-OO
Be. Social Security Be. $ 700_OQ $ 1 100_00
8f. Other government assistance that you regularly receive
lnclude cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benetits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: Bf. $_O-O_O_ $M
Bg. Pension or retirement income Bg. $ 0.00 $ 0.00
Bh. other monthly rhoomo. specify: 0 Bh. + $ 0_00 + $ 0_00
9. Add all other inoome. Add lines 8a + ab + ac + ad + se + af +ag + ah. 9. $ 700.00 s 1 ,100.00
10.Calcu|ate monthly income. Add line 7 + line 9. 2 100 00 2 100 00 4 200 00
Add the entries in line 10 for Debtor1 and Debtor 2 or non-filing spouse. 10. $+ + $ ' ` $ ’ `
11. State all other regular contributions to the expenses that you list in Schedule J.
lnclude contributions from an unmarried partner, members of your househo|d, your dependents, your roommates, and other
friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11. + $ 0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 4 200 00
Write that amount on the Summary of Your Assets and Liabi/ities and Certa/`n Statistical /nformation, if it applies 12. 34
Combined

w No.

13. Do you expect an increase or decrease within the year after you file this form?

 

 

 

monthly income

 

El Yes. Explain:

 

 

 

 

Ofticial Form 106|

Schedule l: Your lncome

page 2

 

Case 8:19-bl<-O2347-RCT Doc 11 Filed 04/01/19 Page 25 of 42

ill in this information to identify your case:

 

Debtor 1 Maria E Silverio

 

 

 

Hrst Name Middle Name Las\Name Check if thl$ is:
Debtor 2 Jose R. Travieso .
(Spouse, ifflling) HrstName Middle Name LastName m An amended m|ng
_ _ _ _ El A supplement showing postpetition chapter 13
United States Bankruptcy Court for the: Middle DlStrlCt Of Florlda expenses as of the following date:
Case number 8:19-bk-02347-RCT ` m
(lf known)

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

- Describe Your Household

1. ls this a joint case?

 

 

Cl No. co lo line 2.
g Yes. Does Debtor 2 live in a separate househo|d?

MNo

cl Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

/

 

 

 

 

 

 

 

 

 

 

2. Do you have dependents? § No
Dependent‘s relationship to Dependent’s Does dependent live
DO nOf liSf Debtor1 and m ¥es. Fill out this information for Debtor1 °l’ Debtor 2 age Wifh you?
Debtor 2. each dependent .......................... n
Do not state the dependents’ m N°
names. Yes
a No
m Yes
L:l No
n Yes
El No
m Yes
n No
El Yes
3. Do your expenses include g NO

expenses of people other than
yourself and your dependents? a Yes

 

m Estimate Your Ongoing Monthly Expenses

 

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. lf this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

lnclude expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule l: Your lncome (Officia| Form 106|.)

 

4. The rental or home ownership expenses for your residence. lnclude first mortgage payments and

any rent for the ground or lot. 4. $

lf not included in line 4:

4a.. Real estate taxes f 4a $ 100.00
4b. Property, homeowner’s, or renter’s insurance 4b. $ 1 O0.00
4c. Home maintenance, repair, and upkeep expenses 4o. $ ‘|O0.00
4d. Homeowner’s association or condominium dues 4d. $ 100-00

 

 

Official Form 106J n Schedule J: Your Expenses page 1

Case 8:19-bi<-O2347-RCT Doc 11 Filed 04/01/19 Page 26 of 42

oeblor1 Maria E Silverio

 

 

First Name Middle Name LastName

 

 

 

 

 

 

Case number (lrknowh) 8:19'bk'02347'RC-r

 

   

 

 

 

 

Your expenses-
5. Additional mortgage payments for your residence, such as home equity loans 5. $
§ 6. Uti|ities:
‘ 6a. Electricity, heat, natural gas 6a. $ 300-00
6b. Water, sewer, garbage collection 6b. $ 200.00
ec. Telephone, cell phone, lntemet, satellite, and cable services ec. $ 200.00
6d. Other. Specify: 6d. $
7. Food and housekeeping supplies 7. $ 600-00
z B. Childcare and children’s education costs 8. $ O-OO
’ 9. Clothing, laundry, and dry cleaning g_ $ 100.00
10. Personal care products and services 10. $ 100-00
11. Medical and dental expenses 11. $ 100.00
12. Transportation. include gas, maintenance, bus or train fare. $ 400_00
Do not lnclude car payments. 12.
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. 100-00
14. Charitab|e contributions and religious donations 14. 200.00
15. |nsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a. $
15b. Heaith insurance 15b. $ 300-00
15c. Vehicie insurance 15c. $ 200-00
15d. Other insurance. Specify: 15d. $
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16. $
17. installment or lease payments:
17a. Car payments for Vehicie 1 17a. $
17b. Car payments for Vehicie 2 17b. $
17a. Other. Specify: 17a. $
17d. Other. Specify: t7d. $
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule I, Your lncome (Officia| Form 106|). 18. $
19. Other payments you make to support others who do not live with you.
Specify: 19. $
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
20a. Mortgages on other property zoa. $
zob. Real estate taxes zob. $
t 20c. Property, homeowner’s, or renter’s insurance 20c. $
§ 20d. Nlaintenance, repairl and upkeep expenses 20d. $
: 20e. Homeowner’s association or condominium dues 20e. $
Official Form 106J Schedule J: Your Expenses page 2

Case 8:19-bi<-O2347-RCT Doc 11 Filed 04/01/19 Page 27 of 42

 

 

 

Debtor1 Maria E Silverio ease number (,,kuaw,,, 8:19-bk-02347-RCT
First Name Middle Name Last Name
§21. Other. Specify: 21. +$

 

 

22. Calcu|ate your monthly expenses.

 

22a. Add lines 4 through 21. 22a. $ 3,200.00
22b. Copy line 22 (monthiy expenses for Debtor 2), if any, from Offlcial Form 106J-2 22b. $
220. Add line 22a and 22b. The result is your monthly expenses. 22a. $ 31200_00

 

 

23. Calcu|ate your monthly net income.

 

. . . $ 4,200.00
23a. Copy ilne 12 (your comb/ned monthly lncome) from Schedule l. 23a. _
23b. Copy your monthly expenses from line 220 above. 23b. _ $ 3,200.00

c 23c. Subtract your monthly expenses from your monthly income.
§ , _ 3 1 ,000.00
§ The result ls your monthly net income. 23a. -_-_

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

§ For example, do you expect to finish paying for your car loan within the year or do you expect your
' mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

w No.

 

cl YeS- Expiain here:

 

 

 

 

 

Official Form 106J Schedule J: Your Expenses page 3

Case 8:19-bi<-O2347-RCT Doc _11 Filed 04/01/19 Page 28 of 42

Fill in this information to identify your case:

Debtor 1 Maria E Siiverio

First Name Middle Name Last Name

Debtor 2 Jose R. Travieso

(SpUUSe, lf "lil`lg) Flrst Name Middle Name ` Last Name

United States Bankruptcy Court for the: Middle District Of F|Orida
Case number 8'1q-hk-O7'%47-RCT k

(if known)

 

El check if this is an
amended filing

 

Official Form 106Dec
Declaration About an individual Debtor’s Schedules 1215

 

|f two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making'a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

MNO

m Yes. Name of person . Attach Bankmptcy Petitian Preparefs Noil`ce, Declaration, and
Signature (Official Form 119).

 

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and

that they are true and correct. g

Signature of Debtor 2 y

  

 

_,
simmqu DetsG1

Date 04/01/2019 Date 04/01/2019

MM/ DD l YYYY MMI DD/ YYYY

 

 

 

Official Form 1OGDec Dec|aration About an individual Debtor’s Scheduies

Case 8:19-bl<-O2347-RCT ` DOC 11 Filed 04/01/19 Page 29 of 42

ill in this information to identify your case:

 

 

 

Debtor1 Maria E Silverio
Firsi Name Middle Name Last Name

Debtor 2 Jose R Travieso

(Spnuse, if fllirig) First Name Middle Name , Last Name

United States Bankruptcy Court forthe: Northern District of Florida

8:19~bk-02347-RCT g
%?§§°§`v:§“ber El check ifthis is an
amended ii|ing

 

Official Form 107
Statement of Financial Affairs for individuals Filing for Bankruptcy 04116

Be as complete and accurate as possible. if two'married people are filing together, both are equally responsible for supplying correct

information. |f more space is needed, attach a separate sheet to this fo'rm. On the top of any additional pages, write your name and case
number (if known). Answer every question.

3 m Give Details About Your Marital Status and Where You i.ived Before

1. What is your current marital status?

m Married
n Not married

2. During the last 3 years, have you lived anywhere other than where you live now?
d No

El Yes. List all of the places you lived in the last 3 years, Do not include where you live now.

oatesvebwz
` livedthe“'re{~ '~ "'

    

 

 

 

 

 

 

 

 

 

 

 

 

 

n Same as Debtor1 n Same as Debtor 1
- From From
Number Street Number Street
To To
City State ZlP Code City State ZlP Code
n Same as Debtor1 n Same as Debtor1
From From
Number Street Number Street
To To
City State ZlP Code City State ZlP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and V\hsconsin.)

MNQ

El Yes. Make sure you fill out Schedule H.' Your Codebtors (Official Form 106H).

 

 

 

Expiain the Sources of Your income

Oficial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 1

Case 8:19-bl<-O2347-RCT DOC 11 Filed 04/01/19 Page 30 of 42

Debtor1 Maria E SllVei'lO Case number (irknowrr) 8:19`bk`02347'RC-r

Firsi Name Middle Name Last Name

 

 

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill iri the total amount of income you received from all jobs and all businesses, including part-time activities.
lf you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

n No
M Yes. Fiii in the detaiis.

  

    
 
   
  

 
   
 
  

    

' " , , d jj » v .. » .. ' ,
.= SQWC€§. of income "Sources of§mcome ' Gross income j »

 
       

 

 

 

 

§ Checkall.that;apply. -j 3 § . _'efore,'deductio:ns and '. 'Chec_k ail-thatappiy.v " § (before deductions'and;" j;
* " exdusi§n§) ` ` ' ~ `» ` -` ’ ’
From January 1 of current year until w :Vages' °:mmissi°ns' $ 4,800.00 mr :Vages’ c¢:.mmissi°ns’ $ 3,300.00
the date you filed for bankruptcy: °nuses' ps _ onuses' 'ps _
;V cl Operating a business n Operating a business
_ w Wages, commissions, w Wages, commissions,
For last calendar yeah bonusesl tips $ 19,643.00 bonuses, tips $ 13r075~00
(January 1 to December 31$9$§8_) a Operating a business m Operating a business
For rer caierrriar year before rrrarr w §;;Z::SC;;:"ES‘°"S- w §‘;;Z:;Cj$smissionsr 9 250 00
' 6,700.00 ’ .
,,§ (January 1 to December 31.$-\9\(17 a Operating a business $ n Operating a business $" ""__!

 

 

Did you receive any other income during this year or the two previous calendar years?

§ include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment and other public benefit payments: pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. lf you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

MNo

Cl Yes. Fiii in the deiaiis.

 
     

   
  

 

   
  

.Gross income from
ach source v

before deductions and~
Xclusions) ' 1 ~

z § $purces_of income f

Sources of income
§ Describe below;"='_-’ ' :

_ _ _ _ Describe below
j;(b_efore deductions and :. § `
s><e'u$i°“$> , 1 '

 

     
 

  

    

,
l

 

t t

From January 1 of current year until
the date you filed for bankruptcy:

 

 

For last calendar year:

(January 1 to December 31,2018 )
vYYY

 

 

 

For the calendar year before that:

(January 1 to December 31,2017 )
YYYY

 

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 2

Case 8:19-bl<-O2347-RCT DOC 11 Filed 04/01/19 Page 31 of 42

Debtor 1 Maria E Silverio ease number w,mawm 8:19-bk-02347-RCT

First Name Middle Name Last Name

 

 

m List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor1’s or Debtor 2’s debts primarily consumer debts?
m No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are denned in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a persona|, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

Cl No. Go to line 7.

n Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment

m Yes. Debtor1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

Ei No. Go to line 7.
n Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that

creditor. Do not include payments for domestic support obligations, such as child support and ‘
alimony. A|sol do not include payments to an attorney for this bankruptcy case.

 

 

 
 

:'. Dates of -

 

 

§ .
§§ payment
$ $ n
Creditors Name Mortgage
El Car
Number Street n Credit card

 

m Loan repayment

 

cl Suppliers or vendors

 

 

 

 

 

 

 

 

 

 

 

City State ZlP Code a Other
$ $ m Mortgage
Creditors Name
_ m Car
Number Street n Credit card
n Loan repayment
n Suppliers or vendors
city stare zip code El other
$ $ m Mortgage
Creditors Name
n Car
m Creditcard

Number Street

n Loan repayment

 

m Suppliers or vendors

 

City State Z|P Code n Other

 

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 3

Case 8:19-bl<-O2347-RCT Doc 11 Filed 04/01/19 Page 32 of 42

Deb,m iviaria E Siiverio ease numbe,(i,kn°wn, azie-bi<-02347-RCT

 

First Name Middle Name Last Name

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
lnsiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in controll or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. lnclude payments for domestic support obligations,
such as child support and alimony.

MNo

n Yes. List all payments to an insider.

: ..‘i)_aites;'¢;~fl

 

 

 

 

 

 

 

 

 

 

 

lnsider‘s Name

 

Number Street

 

 

City State ZlP Code

 

»:'-"i»;rrw;e;m -
lnsiders Name $ $
Number Street
C“V state ziP code
$ $

 

 

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

include payments on debts guaranteed or cosigned by an insider.

MNO

Cl Yes. List all payments that benefited an insider.

 

§§”b§~"‘"§ ""'f': Aiiiéuhtydrr'siiii jesseth for'tir"isjii`ayiriem `
nat/ment '_ ~ . v l

vi,.-<>`w@.:: ~

   

 

 

 

 

 

 

include creditor's name z < '

 

 

lnsidefs Name $ $

 

Number Street

 

 

City State ZlP Code

 

 

 

 

 

 

 

 

 

$ $
lnsiders Name
Number Street
City State ZlP Code
Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 4

 

Case 8:19-bl<-O2347-RCT Doc 11 Filed 04/01/19 Page 33 of 42

Debtor1 Maria E Silverio Case number annum 8:19-bk-02347-RCT

First Name Middle Name Last Name

 

 

identify Lega| Actions, Repossessions, and Foreclosures

 

9, Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes

MNO

El Yes. Fiii in tire deiaiis.

`t..\-, ,, v

§ Nature of the case .

ri...
r

’; coirorrsrcr j '

   

Status of the_case

 

 

 

 

 

 

 

 

 

 

 

. i
z i
Case title com Name n Pending
n On appeal
Number Street m Concluded §
§
Case number §
city stare ziP code 1
Case title Coun Name . m Pending §
n On appeal ;§
Number Street n Concluded
Case number
City State ZlP Code

 

 

 

1o. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and Hl| in the details below.

M No. Goroiineii.
n Yes. Fill in the information below.

 

z: describe theproperty

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

Creditors Name $
Number Street 'Y. Expiainewhat ii §
Z». '.,..,.g“ ._._,..`~_.....a; 'I; ..» ~.~ _..~l
cl Property was repossessed.
El Property was foreclosed
n Property was garnished. §
city stare zlP code n Property was attached, seized, or levied. §
Describe the'p§openy ;Date t 7 ' ,Vaiue ofthe`ipropert\
$
Creditor‘s Name
Number Street § ??` ` ' ' ¢ ¥ §§
-§ ' Expiain what happened '§
Cl Property was repossessedl
El Property was foreclosed. §
City State Z|p Code El Property was garnished.
n Property was attached, seized, or levied.

 

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 5

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Debtor 1 Maria E S"Verio Case number (irlmawrr) 8:19'bk'02347'RC-r

First Name Middle Name Last Name

 

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

MNO

El Yes. Fill in the details

 

 

 

Creditors Name

 

$
Number Street

 

 

 

 

 

City State ZlP Code Last 4 digits of account number: XXXX-___

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another officiai?

w No
l:l Yes

List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
w No

El Yes. Fill in tire details for each gift

 

 

 

 

$
Person to Whom You Gave the Gift

 

 

Number Street

 

City State ZlP Code

Person’s relationship to you

 

bates ydd_g'ave '
'~ ~;i;fl.ie.gtf;h:.._..ea

 
     

 

 

$
Person to Whom You Gave the Gift __

 

 

Number Street

 

City State Z|P Code

Person's relationship to you

 

 

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 6

 

Debtor1

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Maria

E ,

Silverio

 

First Name

Middle Name

Last Name

Case number (irl<rrawrr) 8:19'bk'02347'RCT

 

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

MNO

El Yes. Fill in the details for each gift or contribution

 

 

 

 

 

 

lu
ontributed

f

l

l s
Chaiity's Name l

l

§ $
Number Street §

l
City State ZlP Code §

 

 

List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theftl fire, other
disaster, or gambling?

MNo

El Yes. Fill in the details.

    
  

 

§ describe anyi §§ m ‘

§,_
f_

     
   

   

rDescribethe `operl:yyouios't`andt `
hoirvthe loss

    

 

  
  
 

: Vaiue ofpmpetty, §
681 _ . `»

 
 
 
 

 
 

§ ,

v ,_ " ,_ :v'irae_p idi.§`l.i`etpéndir'rg insurance
_, __c dule A/B__:Prpperty.»<

 

 

 

 

 

 

 

 

 

 

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attomeys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

MNo

Cl Yes. Fill in the details.

i? `crlptionr"a`nd value of_ar`ly_ property transferred '

 

 

Person Who Was Paid

 

 

Number Street _ y $

 

 

City State ZlP Code

 

Email or website address

 

Person Who Made the Payment, if Not You ‘

 

 

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

 

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Debtor 1 Maria E Silverio Case number (,.,,mwn, 8:1 9-bk-02347-RCT
First Name Middle Name Last Name
pescriptlon and value of any property transferred =j § Date payment o
- , '" l :~ § . . - §§ transferwas ,
Person Who Was Paid
$
Number Street
$
City State ZlP Code
Email or websife address
Person Who Made the Payment, if Not You

MNO

El Yes. Fill in the detaiis.

 

 

 

 

m

   

 

£icription\and value

 

§y, § operty transferred

11. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment ortransfer that you listed on line 16.

   
 

 

    

  

  

 

Person Who Was Paid

 

Number Street

 

l
l
l
l
l
i

 

City State

No
El Yes. Fill iri the daiaila.

ZlP

Code

 

 

 
  

 

Description and value §

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or Financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement

 

oatétrari'§re`r“ §

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

' l
i
§“l Describe any property or payments received
transferred ' §§ or debts paid in :ex_chan_`ge ` . § \ -: was made ' ` "
Person Who Received Transfer
Number Street
City State ZlP Code
Person's relationship to you
Person Who Received Transfer
Number Street
City State ZlP Code
Person's relationship to you
Ofucial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 8

 

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Debtor1 Maria E Si|verio Case number (,,knawn, 8:19-bk-02347-RCT

First Name Middle Name Last Name

 

 

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

MNO

El Yes. Fiil in the deteiis.

 

     

 

Name of trust

 

 

 

 

 

 

List ¢ertaln Financial Accounts, lnstruments, Safe Doposlt Boxes, and Storago Un|ts

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, so|d, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

MNo

El Yes. Fiii in the detaiis.

 
          
   

Last haiance':before`

4 '§rype of account or _
losing or,tran__sfer .

` ` Last '4'di`glt'9 of accoun
.. _ instrument § '

 

.`¢'03.¢¢. s°l¢`t.~ movie
ortransferred

   

 

Name of Financial lnstitutlon

XXXX-____ n Checking $

 

Number Street n Savings

n Money market

 

 

 

 

 

n Brokerage
City State ZlP Code n Other
XXXX- Cl checking $
Name of Financial institution
n Savings
Number Street n Money market

n Brokerage

 

m Other

 

City State ZlP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?
w No
El Yes. Fili in the deteiis.

 

 

;*t.- -

      

 

 

 

 

 

 

 

 

 

§ Who`eise'had access § 5 j Do you still§
§ =' . ; ;, ' .§__h§gveii¢?
n No
Name of Financial institution Name n Yes
Number Street Number S“eet
City State ZlP Code
City State ZlP Code

 

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 9

 

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Debt°r 1 Maria E S"Verio Case number (iiknown) 8:19'bk'02347'RCT

First Name Middle Name Last Name

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
lIl Yes. Fill in the details §§ § __
scrib'i§ the contents ' _

 

 

 

 

 

Name of Storage Fac|lity Name

 

Number Street . Number Street

 

CltyState ZlP Code

 

 

 

 

City State ZlP Code

 

 

m ldontlfy Property You Hold or control for Somoone Elso

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.
w No
El Yes. Fiii in the detaiie.

 

 

me .

 

 

 

Owner's Name $

 

Number Street

 

Number Street

 

 

 

 

City State ZlP Code
City State ZlP Code

m Give Dotalls About Envlronmontal lnformatlon

For the purpose of Part 10, the following definitions apply:

 

 

 

l Environmental law means any federa|, state, or local statute or regulation concerning poliution, contamination, releases of
hazardous or toxic substances, wastes, or material into the alr, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or materia|.

l Site means any location, facility, or property as defined under any environmental |aw, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

l Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar tenn.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

mNo

n Yes. Fill in the details.

    

,éiil?ii €Fié»i`c§`i`ia§i,'f’i"t`ii'$li=._i§i\'§v'[itl`f? ','jl `1,11 nice ef»i_'d`li¢e

 

 

 

 

 

 

 

 

 

Name of site Govemmenta| unit
Number Street Number Street

City State ZlP Code
City State ZlP Code

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 10

 

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newa Maria E Siiverio ease number (,.,km,wn, '8:1 9-bk-02347-RCT

First Name Middle Name Last Name

 

25. Have you notified any governmental unit of any release of hazardous materia|?

MNo

El Yes. Fiii in the detaiis.

   

 

_"i.-i'iiaw,§`ify§°q k}iowi{":- `

 

b ` ~ ::Date ofnotlce 15

i

 

 

 

 

 

 

 

 

 

Name of site Govemmenta| unit
Number Street Number Street

Clty State ZlP Code
Clty State ZlP Code

 

26. Have you been a party in anyjudicial or administrative proceeding under any environmental law? lnclude settlements and orders.

mNo

El ves. Fiii in the detaiis.

 

 

 

 

 

 

Case title cl _
Court Name pendmg
n On appeal
Number Street n Concluded
Case number city state zip code

 

m leo Dotalls About Your Buslnoss or connectlons to Any Buslnoss
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
cl A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
n A member of a limited liability company (LLC) or limited liability partnership (LLP)
m A partner in a partnership
n An officer, director, or managing executive of a corporation

cl An owner of at least 5% of the voting or equity securities of a corporation

w No. None of the above applies. Go to Part 12.
n Yes. Check all that apply above and fi||' in the details below for each busin.ess

   

       
 

 

j `mployer ldentlficat n nom
xi vl)o not include Social ` rity number or l'th

 

 

 

Buslness Name

 

Number Street

 

 

 

 

 

City State ZlP Code

 

 

 

 

Buslness Name

 

 

Number Street

   

` l\laitte of:accountant:`orbook`lioe;per l l

 

 

 

From To

 

 

 

 

ley State ZlP Code

 

 

Ofncia| Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 11

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Debtor 1 Maria E Silverio Case number (ifknown) 8:19'bk'02347"RC-r

First Name Middle Name Last Name

 

 

'::~ Employ`er identification number :
Do riot include Socral Securrty number or 'l'lN

 
  

 

1 Describe the nature ofthe business :W':F;_'; . `

 

 

Buslness Name

 

 

Number Street

   

§ ~ém¢Br'ac¢bunan¢°i`ba§ii<:-eper€:= ' `

 

 

 

From To

 

City State ZlP Code

 

 

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? lnclude all financial
institutions, creditors, or other parties.

MNo

El Yes. Fiii in the details beiow.

f

§Date issued

 

 

Name MM/ no / YYYY

 

Number Street

 

 

Clty State ZlP Code

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. l understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up_to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 15 , and 3571.

x MQ></M/ %@ z /W’)
Signatu of )K/D)to/1‘ ignature of Debtor2 / d

Date 04/01/2019 Date 04/01/2019

 

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

M No
m Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
w No

n Yes. Name of person . Attach the Bankruptcy Petition Preparer’s Notice,
Dec/aration, and Signature (Official Form 119).

 

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 12

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Fi" in this information to identify your case: Check one box only as directed in this form and in

Form122A-1Supp:

Debtor1 Maria E Si|verio
First Name Middle Name Last Name

Debtor2 Jose R Travieso

M 1. There is no presumption of abuse.

n 2. The calculation to determine if a presumption of
abuse applies will be made under Chapter 7
Means Test Calculation (Official Form 122A-2).

(SpCUSe, lfflllng) First Name Middle Name Last Name
United States Bankruptcy Court for the: Middle District Of Florida
Case number 8;19-BK-02347-r0t

(lf known)

El 3. The Means Test does not apply now because of
qualified military service but it could apply later.

 

   

 

El Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly lncome 12115

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for being accurate. lf more
space is needed, attach a separate sheet to this form. lnclude the llne number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). lf you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this forrn.

m Calcu|ate Your Current Monthly lncome

1. What is your marital and filing status? Check one only. ,/

n Not married. Fill out Co|umn A, lines 2-11.
w Married and your spouse is filing with you. Fill out both Co|umns A and B, lines 2-11.

 

 

m Married and your spouse is NOT filing with you. You and your spouse are:

n Living in the same household and are not legally separated. Fill out both Co|umns A and B, lines 2-11.

m Living separately or are legally separated. Fill out Column A, lines 2-11; do not nil out Co|umn B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements 11 U. S. C. § 707(b)(7)(B).

 

 

 

 

2. Your gross wages, salary, tips, bonuses, overtime, and commissions
(before all payroll deductions). $ 1 600 00 $ 1,100 00

3. Alimony and maintenance payments. Do not include payments from a spouse if
Co|umn B is filled in. $_ $

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. lnclude regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. lnclude regular contributions from a spouse only if Co|umn B is not
filled in. Do not include payments you listed on line 3. m $-_ $

5. Net income from operating a business, profession,
or farm
Gross receipts (before all deductions)

 

  

Ordinary and necessary operating expenses - $ _ $

Net monthly income from a business, profession, or farm 5 $ ::r‘g) $ $
6. Net income from rental and other real property

Gross receipts (before all deductions)

Ordinary and necessary operating expenses

Net monthly income from rental or other real property $ $ E;’r‘:f’ $
7. lnterest, dividends, and royalties $

 

 

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly lncome page 1

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Debtor 1 Maria E SllVerlO Case number (lfknown) 811 9~BK-02347-F0t
First Name Middle Name Last Name
Column A _ §Co/umn` B ’
§“`Debtor 1 ` iDebtor 2 or"
M v __M y ‘non-filing spouse
8. Unemployment compensation 5 $

 

Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. lnstead, list it here: ...............................

For you .......... .. ......... $
For your spouse ................................................................... $

 

9. Pension or retirement income. Do not include any amount received that was a
benth under the Social Security Act. $

10. lncome from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism. lf necessary, list other sources on a separate page and put the total below.

 

 

+$

 

 

 

Total amounts from separate pages, if any. + $
11 . Calcu|ate your total current monthly income. Add lines 2 through 10 for each +
column. Then add the total for Co|umn A to the total for Column B. $ 1,600.00

$ 1,100.00 = $ 2,700.00

 

 

 

 

 

m Determine Whether the Means Test Applies to You

Total current
monthly lncome

 

12. Calcu|ate your current monthly income for the year. Follow these steps:

 

Multiply by 12 (the number of months in a year).

12b. The result is your annual income for this part of the form.

13. Calcu|ate the median family income that applies to you. Follow these steps:

 

Fill in the state in which you llvé. FLOR|DA

 

 

Fill in the number of people in your household. TWO

 

 

 

To find a list of applicable median income amounts, go online using the link specihed in the separate
instructions for this form. This list may also be available at the bankruptcy clerk’s office.

14. How do the lines compare?

Go to Part 3.

Go to Part 3 and fill out Form 122A-2.

....................... 13. -$54.000.00

Fill in the median family income for your state and size of household ......................................................................

 

12a. Copy yourtotal current monthly income from line 11. .. ............. Copy line 11 here') $ 2 700.00

x12

 

 

 

 

t4a. i Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse. ’

14b. n Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.

 

Not/d

By sign' g h e l declare un lty of perjury that the information on this stat ent and in any attac nts is true and correct.

 

lf you checked line 14a, do NOT fill out or file Form 122A-2.
lf you checked line 14b, fill out Form 122A-2 and tile it with this form.

 

Signatu e of S/ODeY[/l/ v Signature of Debtor/ 2
Date ogle 1/2019 Date 04/01/2019
MM/ DD /YYYY MM/ DD /YYYY

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly lncome

page 2

 

